TO: THE UNITED STATES DISTRICT COURT ee “Ait Uso C Epwe
FOR THE EASTERN DISTRICT OF WISCONSIN 773
MILWAUKEE DIVISION 7 Og
UNITED STATES OF AMERICA,
Plaintiff,

Vv. Case No. 2:22-cv-00621-PP

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)
Mark Peters, )
and Rosemary Peters, )

)

Respondents.

NOTICE — This document cannot be used to create any form of jurisdiction over Respondents.

Regarding: First Set of Interrogatories to United States of America, pursuant to Rule 33 of the
Federal Rules of Civil Procedure, requests that Plaintiff answer the following interrogatories
under oath and serve the responses on Mark Peters within 30 days of service. Your answers to
these interrogatories should be supplied by mailing a copy of such to Mark Peters at 15941
Durand Ave 45D, Union Grove, WI 53182. Please also email your completed responses to
mpservices311@gmail.com.

1. Interrogatory 1 - For each subject calendar year*, Respondents now request the
name, employment title, office title, and contact information, of any man* known by
Plaintiff, that has been authorized to notify any Respondent, as to any requirement,
as to keep any record, for United States of America Internal Revenue needs?
1.1.As to the request directly above provide who is the man that officially instructed

the man that you provide as to the above question, and provide that officer’s
name, employment title, office title, and contact information.

2. Interrogatory 2 - For each subject calendar year, Respondents now request the name,
employment title, office title, and contact information, of any man* known by
Plaintiff, that has been authorized to notify any Respondent, as to any requirement,
as to produce any return, for United States of America Internal Revenue needs?
2.1.As to the request directly above provide who is the man that officially instructed

the man that you provide as to the above question, and provide that officer’s
name, employment title, office title, and contact information?

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. Interrogatory 3 - For each subject calendar year, Respondents now request the name,
employment title, office title, and contact information, of any man* known by
Plaintiff, that has been authorized to notify any Respondent, as to any requirement,
as to taxes due to United States of America, by any Respondent?

3.1. As to the request directly above provide who is the man that officially instructed
the man that you provide as to the above question, and provide that officer’s
name, employment title, office title, and contact information?

. Interrogatory 4 - For each subject calendar year, Respondents now request the name,
employment title, office title, and contact information, of any man* known by
Plaintiff, that has calculated any amount of taxes, penalties, interest, and fees due,
and what was relied upon for those calculations, and computations, as claimed in the
Plaintiff's Complaint?

. Interrogatory 5 - For each subject calendar year, Respondents now request the name,
and contact information, of any Commissioner of Internal Revenue*, known by
Plaintiff, that has authorized, or given any notice, to any person, of any requirement,
upon Mark Peters, or Rosemary Peters, as to the duty to keep any record, for United
States of America Internal Revenue needs?
5.1.As to the request directly above provide where that notice is located, and how

Mark Peters can order a certified copy of the same notice from the records of the
said Commissioner.

. Interrogatory 6 - For each subject calendar year, Respondents now request the name,
and contact information, of any Secretary of Internal Revenue’, or like officer,
known by Plaintiff, that has authorized, or given any notice, to any person, of any
requirement, upon Mark Peters, or Rosemary Peters, as to the duty to make any
return, (income tax return/computation) for United States of America Internal

Revenue needs?
6.1.As to the request directly above provide where that notice is located, and how

Mark Peters can order a certified copy of the same notice from the records of the
said Secretary, or like officer.

. Interrogatory 7 - For each subject calendar year, Respondents now request the name,
and contact information, of any Secretary, or Commissioner of Internal Revenue*,
or like officer, known by Plaintiff, that has written authority, from Unite States
Congress, to give formal notice, to any person, of any requirement, for Mark Peters, '
or Rosemary Peters, as to the duty to keep records, make any return, (income tax
return/computation), or demand any tax due, for United States of America Internal
Revenue needs?
7.1.As to the request directly above provide where that formal notice is located, and

how Mark Peters can order a certified copy of the same notice from the records
of the said Secretary, or like officer.

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13.

Interrogatory 8 - For each subject calendar year, Respondents now request the name,
and contact information, of all officers of Internal Revenue*, that has written
authority, from Unite States Congress, to give formal notice, to any person, of any
requirement, for Mark Peters, or Rosemary Peters, as to a duty to keep any records,
make any return, (income tax return/computation), or demand any tax due, for
United States of America Internal Revenue needs?

Interrogatory 9 — Please provide the definition for the term “reside”, as used by the
Plaintiff in this case in the Complaint on page 2, paragraph 4. Please specify if that
claim is in land or without land that is identified in Article 1, Section 8, Clause 17, as
enumerated in ‘Constitution for the United States of America’.

Interrogatory 10 — Please provide the definition for the term “in this judicial
district”, as used by the Plaintiff in this case in the Complaint on page 2, paragraph
4. Please specify if that claim is in land, or is without land, that is of land as
identified in Article 1, Section 8, Clause 17, as enumerated in ‘Constitution for the
United States of America’.

Interrogatory 11 — Please provide the definition for the term “county”, as used by
the Plaintiff in this case in the Complaint on page 2, paragraph 4. Please specify if
that claim is in land, or is without land, that is of land as identified in Article 1,
Section 8, Clause 17, as enumerated in ‘Constitution for the United States of
America’. See definitions in United States Congress STAT AT LARGE...., and the
same ‘Supremacy Clause’, and Respondent’s right to rely on evidence of written
law.

Interrogatory 12 - For each subject calendar year, Respondents now request the
name, and contact information, of the person that can testify, and fact evidence, that
Mark Peters, or Rosemary Peters, was ever in land owned by the United State of
America and doing any activity, or business, that is taxable per United States
written law, as associated with any tax year claimed by Plaintiff in the Complaint.

Interrogatory 13 - For each subject calendar year, Respondents now request the
name, and contact information, of the person that can testify, and fact evidence, that
Mark Peters, or Rosemary Peters, was ever a “resident” in the United State land as
the term “resident” is defined in United States STAT AT LARGE, as associated
with any tax year claimed by Plaintiff in the Complaint.

Respectfully submitted;

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Mark Peters, Respondent

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RosemarlPeters, Respondent

Proof of Service:
That the following have been mailed, and emailed, this 4 page document, title ‘First
Set of Interrogatories to United States of America’, this day of 12/24/2022: _
RICHARD G. FROHLING

United States Attorney . Eastern District

of Wisconsin

DAVID A. ITUBBERT

Deputy Assistant Attorney General

-and-

ELIZABETH A. KIRBY < USPS Tracking 7020 2450 0000 1913 4558

TX Bar No. 24104199 |
Trial Attorney. Tax Division
U.S. Department of Justice

P.O. Box 7238

Washington, D.C. 20044
202-305-8656 (v)
202-514-6770 (0
Elizabeth.A.Kirby@usdoj.gov

Respectfully submitted;
: J Gide AV Gin

Mark Peters, Respondent

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Rosematy Peters, Respondent

Terms Defined:

*man — male or female.

*subject calendar year — Years claimed as tax due in Plaintiff's Complaint.
*Commissioner of Internal Revenue*, as identified in United States STAT AT LARGE.

*Secretarv of Internal Revenue*, as may be the person that took over the job of the above stated Commissioner.

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